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                                                                                            Rev. 134D877


        CHARACTER REFERENCE LETTER FOR COURT

Cathleen SnyderSchuster
9526 old Easton rd
Kintnersville, PA 18930

May 19, 2025

Jay Mykytiuk, and whoever else this may concern,

My name is Cathleen SnyderSchuster, and I am writing to offer a character reference for Jamie
Spies, whom I have had the privilege of knowing for 14 years as Lifelong friend, and godmother
to both my children . With her court proceedings concerning Child Pornography approaching, I
am compelled to share my observations of her character based on our extensive interactions.

Throughout my acquaintance with Jamie , she has consistently exhibited a character of integrity
through her actions and contributions. A notable instance was Jamie 's commitment to Worked at
jiffy lube as a Lead CSA, graduated automotive school , which underscored her dependability. As
a result of Jamie 's commendable effort, The knowledge of more automotive technology .

Unfortunately, Jamie has recently encountered a significant challenge arising from Physical and
mental abuse and SA in past relationships and also by the person who has coerced her into
doing what has happened, she also is suffering from Postpartum depression and serve anxiety. .
This has undoubtedly placed a strain on her emotional well-being and daily life. Recognizing the
difficulties she faces, Jamie took decisive action by They have reached out for support for raising
her son and for also her mental health issues. She also was enrolled in therapy and would talk to
me weekly as we would fill each other in on what was going on in our lives no matter how good or
bad it was., demonstrating her proactiveness in overcoming challenging circumstances.

In conclusion, while acknowledging the seriousness of Jamie Spies's offense, I respectfully
request that the court consider her longstanding positive character and the atypical factors that
led to this lapse in judgment. It's vital to contemplate how the sentence could further affect Jamie
and result in Her son koda has severe separation anxiety when it comes to not being with his
mom and truthfully for her mental health issues her being in the place that she’s in right now is
putting her in the worst mindset possible because she is being set up I’ve known her for so long
she’s been there for the birth of my child and she’s the godparent to both of my children. I would
not choose somebody to be any of that or to be there for something that vulnerable and that
special if I thought I had any intentions of what she’s being accused of having. . With Jamie
expressing remorse and taking concrete actions toward rehabilitation, I am confident in her ability
to learn from this incident and continue contributing positively to society.

Should you require any further information or wish to discuss this matter in more detail, please do


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not hesitate to contact me.

Sincerely,

____________________________________

Cathleen SnyderSchuster
(267) 897-5786
Cat11399@gmail.com




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                            Character Reference Letter for Court


From,
Emma Spies
6202 Beth Page Drive,
Fontana, CA 92336
Espies516@gmail.com
(213)462-5032

To the Honorable Judge,

        I’m writing this letter in support of my younger sister Jamie Greer Spies, who is
currently before your court. The day my sister was born is the earliest childhood memory I
have. I was three years old and still to this day I’m jealous of her blue eyes – while the rest
of us daughters have brown. We grew up together and lived together until I enlisted in the
Army Reserve in 2014 and moved out to California a few years later.

        Jamie was the one sister out of the four of us that I could tell anything to without
judgment. In school, she was a friend to the girls who had no friends. The girls who faced
incredible hardships and family challenges always found a companion in Jamie. Her one
friend did drugs, stole, and had a baby in high school and Jamie would not forsake her.
Jamie made radical changes in her life to prepare for her baby.

        Growing up, her room was rarely clean, and she didn’t value her health. When she
got pregnant, she changed her diet, immediately found a good doctor, and stayed on top of
cleanliness and her health. She was excited, hopeful, and grateful to be a mother. She had
completed a challenging two-year course right before she was pregnant as well. Even
though that credential is incredibly marketable and could give her a great paying job, she
gave that up to be a stay-at-home mom to focus all her attention, love, and care on Koda.
Every time I visited Pennsylvania, I would visit her. Her house was incredibly clean,
organized, and her son was always happy and well-behaved. She was thrilled for me to
meet Koda, who I couldn’t meet for over a year due to a deployment.

        I am conﬁdent that Jamie has potential for rehabilitation and will invest in every
method to improve, heal, and be an amazing mother to her young son, Koda. I respectfully
ask for your discernment and careful attention in her sentencing. I know the Federal
Sentencing Guidelines provide the court with recommendations, and I realize how
signiﬁcant the possible sentence could be. I hope that you will ﬁnd Jamie’s life and
potential warrants a low sentence.

       Thank you for taking the time to consider this character reference. Please do not
hesitate to contact me if you have any questions regarding this letter.

Sincerely,

Emma Spies
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     Character Reference Letter
     Re: Jamie Spies

     To whom it may concern,

           I am writing this letter to express my support and provide a character
     reference for Jamie Greer Spies, who is currently facing charges before the
     court. I have known Jamie for all of her life, as she is one of my younger
     sisters. During our childhood and teen years, I’ve had the opportunity to
     witness her character and actions closely.

           Living in a house with 4 sisters was equally wild as fun. Jamie was
     my buddy. I carried her around on my hip when I was 8 years old. She had
     the BIGGEST baby blue eyes you ever did see, and she always cracked us
     up with her goofy animal noises and her love for crocodiles. Seriously, she
     could make a legit crocodile noise at 4 years old. Probably still can,
     although she would be blushing I even mentioned this.

     Jamie has always been an old soul. She appreciates good music and
     probably prefers it all on vinyl. The amount of nurture & care Jamie
     provided for her son was so beautiful. Her life became even more
     purposeful when Koda was born. Motherhood is not for the weak, Jamie is
     not weak. Jamie needs healing, which she is welcoming with open arms.

           I understand the seriousness of the charges. I cannot grasp
     understanding of Jamies actions, but as her oldest sister, I will portray that
     Jamie has a heart of love and kindness that needs assistance to heal
     many childhood trauma wounds. Jamie is kind, and has always been easy
     to laugh with. We have had distance since she moved to Sinking Springs,
     PA. But Jamie hikes the 1.5 hours to visit, and comes for all the holidays.

     Forgive me if this is too long, the love we have in our family is bigger than
     us. I rmly believe Jamie is capable of change.

     Thank you,
     Carly Starkey
     82 Ervin Road
     Pipersville, PA 18947
fi
